                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF WISCONSIN
                               MILWAUKEE DIVISION

JENNIFER GAJEWSKI, Individually and on              ) Case No.: 17-cv-1049
Behalf of All Others Similarly Situated,            )
                                                    ) STIPULATION OF DISMISSAL
                                                    )
                Plaintiff,                          )
       vs.                                          )
                                                    )
GC SERVICES LIMITED PARTNERSHIP,                    ) Hon. Lynn Adelman
                                                    )
                                                    )
                Defendant.                          )

       Plaintiff Jennifer Gajewski, by counsel, Ademi & O’Reilly, LLP, and Defendant GC

Services Limited Partnership, by counsel, Rudnicki, PLLC, hereby stipulate, pursuant to Fed. R.

Civ. P. 41(a)(1), that all claims in this action against Defendant GC Services Limited Partnership

are dismissed with prejudice and without costs to any party. No certified class presently exists in

this case, no class is impacted by this dismissal, and therefore Rule 23(e) of the Federal Rules of

Civil Procedure does not apply.



Respectfully submitted this 31st day of January 2018.



ADEMI & O’REILLY, LLP                                RUDNICKI, PLLC

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